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SECTION 20.7 DESCRIPTION OF PROPERTY AND SPECIFICATIONS

Fifth And Fifty-Fifth Condominium
New York, New York

A.   location and Use of the Property


       1.Address                           2 East 55th Street
                                           New York, New York

      2. Block/ Lot Number                 Block 1290 Lot 69 (Building lot)

      3. Zoning                            Zone C5-3 Special Midtown (Restricted Central Commercial
                                           District)

      4. Permissible Uses                 As per the New York City Zoning Resolution this area is within
                                          Zone C5-3 which permits residential and commercial uses. The
                                          property, classified within the Special Midtown District (Mid) and
                                          further classified within the Fifth Avenue Sub-district under New
                                          York City Zoning provisions, is subject to additional provisions/
                                          restrictions with regards to permissible uses within these
                                          classifications. These restrictions affect the allowable types of
                                          retail along Fifth Avenue.

                                          The building is currently classified as and used in conformity with
                                          its J-1 classification and will remain as such. The condominium
                                          conversion will result in fewer hotel guestroom units, and would
                                          therefore remain within the limits allowed by the Certificate of
                                          Occupancy. As per Sponsor's Expediter, no change to Certificate
                                          of Occupancy is required.

      5. landmark Designation             The original hotel was built in 1904, designed by Trowbridge and
                                           livingston. The 1927 extension, designed by Sloan and
                                          Robertson, complemented the original design and expanded the
                                          hotel further east along East 55th Street. The Beaux Arts hotel
                                          was given a landmark designation by the New York City
                                          Landmarks Preservation Commission, thus any alteration to the
                                          exterior that will affect the historic character of the building needs
                                          to be approved by the Commission.
                                                                                             1
                                         There is a plaque at the entrance along East 55 h street. The
                                         plaque, provided by the New York City Landmarks Preservation
                                         Commission upon conferring landmark designation on the
                                         property, gives a narrative on the history of the hotel:                        . . ·. .
                                                  "The St. Regis Hotel, one of the most elegant and                          . • 9:
                                                  sophisticated Beaux Arts style building in New York, is
                                                  among the oldest of the early skyscraper hotels.




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                                                       Commissioned by John Jacob Astor, it heralded the
                                                      transformation of Fifth Avenue from a street of mansions,
                                                      private clubs and churches to a thoroughfare of hotels,
                                                      skyscrapers and fashionable shops. The tum of the age
                                                      gilded hostelry was doubled in size in a 1920s addition
                                                      that transformed it into a major hotel for the newly
                                                      emerging metropolis. The vast 1991 renovation replaced
                                                      the building mechanical system and restored its
                                                      Edwardian magnificence. n

B. Status of Construction

    · 1. Year Built                          1904. There was a hotel expansion project completed in 1927.
                                             The latest extensive renovation of the hotel was completed in
                                             1991. See Item #5, Landmark Designation, preceding section.

      2. Class of Construction               1-B

      3. Certificate of Occupancy            The current Certificate of Occupancy #1 04514 was issued on
                                             February 2, 1994. The building occupancy group classification on
                                             this certificate is J-1 (Residential-Hotels).

     4 . .Description of Work                The building will be subdivided to create 4 Types of Units:
                                                • 24 Suite Units
                                                • 22 Club Units
                                                •    1 Hotel Unit
                                                •    1 Retail Unit

                                            The existing exterior of the Building is to remain as is. As for the
                                            interiors, only the 8th, 9th (Club Units) 10th and 11th (Suite Units)
                                            floors will be renovated to create independent units. Only in these
                                            floors will work on the interiors of the units be done. Inside the
                                            units, existing wall, floor and ceiling finishes are to remain except
                                            for those areas which are to be converted into use as warming
                                            pantries. In the new pantries, finishes will match the finishes in
                                            existing adjacent areas. A schedule of finishes is provided in
                                            Section V.

                                            There will be modifications to the existing plumbing, mechanical,
                                            telecom, electrical and fire protection system on the 81h, 9th, 101h
                                                   1
                                            and 11 h floors as well as the floors directly above and below this
                                            stack in order to accommodate new unit combinations and their
                                            added pantries. This work is further detailed in Sections J thru N.

                                            There will be new electric appliances (see schedule of fixtures
                                            and appliances in Section V) associated with the addition of the
                                            pantry on these levels as well as a new sink. Minor structural
                                            cores will be created to facilitate utility connections. There are a
                                            number of electrical closets which will need to be relocated and
                                            these are further detailed in Section N.
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                                             New millwork will be introduced in the units to provide storage
                                             where closets have been converted into pantries. New
                                             communicating doors will also be introduced wherever
                                             connections between units and lock-outs are required.
                                                                                                                               ·.
                                             All of the other floors of the Hotel shall remain as is.


C. Site


      1.Size                                 The size of the property is approximately 22,553.95 sq.ft. See
                                             Lot Diagram below:
                                                                                                                           .
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                                            The property being described only pertains to the building located
                                            on Two East Fifty Fifth Street.

     2. Number of Buildings and             There is one building on the property which is used primarily for
     Use                                    commercial purposes (hotel, retail etc.) Only the units on floors
                                            8th, gth , 1otta and 11 111 will be separated as Suite Units or Club
                                            Units. Other uses include a restaurant and bar at the ground
                                            level, a spa and fitness center on the cellar level, a retail space
                                            on the ground level and the ballroom at the 20th floor.

                                            The hotel entrances are along the East 551h street side through
                                            the existing revolving doors. There are also other doors along
                                            this fat;ade which are needed for egress and service access.
                                            More details are provided in Section I Subheading #7.

    3. Streets                              The property is abutted by East 55th Street and Fifth Avenue.
                                            These asphalt paved streets are owned and maintained by the
                                            City of New York. These streets are pitched to drain in catch
                                                                                                                               ;.
                                            basins which are part of the New York City storm water drainage
                                            system. These are in usable condition.



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       4. Drives, Sidewalks and              There are existing concrete sidewalks bordering the property.
       Ramps                                 There are existing metal gratings along the sidewalk on the Fifth
                                             Avenue and the East 55'" street side.

                                            A portion of the sidewalk (near the lobby and restaurant
                                            entrances) is finished in stone. There are two existing marquees:
                                            one over the lobby entrance and the other over the tea lounge/
                                            bar entrance. Permits for the installation of these marquees were
                                            obtained on November21,1995.
                                                                                        1
                                            There is a sidewalk elevator on the East 55 h side, and this
                                            provides service access to the sub-cellar level.

                                            The sidewalk is in reasonable condition. There are minor cracks
                                            and misalignments which should be repaired as part of an
                                            ongoing maintenance program.

       5. Exterior Lighting                 There are 5 ornamental iron lampposts which were designed to
                                            be consistent with the architectural style of the fayade. These
                                            lampposts are situated along the sidewalk on the East 55th street
                                            side.

                                            During.the previous renovation work, light fixtures were installed
                                            on the window ledge to highlight the architectural features of the
                                            building.

D. Utilities


      1.Eiectricity                        Electricity is provided by Consolidated Edison Company ("Con
                                           Edisonft) a regulated company. Common metering from Con
                                           Edison is provided at the Main Service Switchboards located in
                                           the Cellar.

      2.Gas                                Gas service is existing and is provided by Con Edison. At the
                                           present time a single meter is provided and the gas piping
                                           throughout the building provides service to laundry dryers
                                           (commercial type), and the various building commercial type
                                           kitchens.

     3. Water and Sewer                    Water and sewer services are existing and are provided by the
                                           City of New York. Presently all water consumed throughout the
                                           building is metered through a single water meter. All water and
                                           sewer charges costs are charged to the building.

     4. Steam                              Steam service is provided to the site by Con Edison. Hot water to
                                           serve the building is generated through a plate and frame heat
                                           exchanger in the main central plant. Condensate is not returned
                                           to the system .

     5. Telephone                          Local and long distance telephone service and currently is
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                                                provided by a PBX (Public Branch Exchange) situated at the
                                                hotel, at some point in the future Direct Inward Dial (DID) may be
                                                made available. Voice circuits (trunks) are provided by Verizon
                                                and/or another service provider (LEC or CLEC). Every Unit
                                                Owner will be required to pay their associated telephone charges
                                                at the hotel's posted rates.

           6. Cable Television                  Cable television service is currently being provided by Time
                                                Warner, and a satellite dish network primarily for international
                                                channels. The building is currently converting from Time Warner
                                                to RCN-TV of New York, while maintaining a supplementary dish
                                                network.

           7. High Speed Internet               The building is wired for high speed internet access.

           8. Metering                          Services that are contracted by the hotel guests, including
                                                telephone, cable television, and high speed internet will remain as
                                                such. Metered services to the site include cooking gas, water,
                                                sewer, steam and electricity.



E. Landscaping


          1.Pianting Areas                      There are moveable planters along the East 55th and the Fifth
                                                Avenue sidewalks. These are custom stone planters with the St.
                                                Regis logo.

          2. Trees                              None.



F.   Building Size


          1.Total Height                    270'-0" (as per Certificate of Occupancy filed February 2,1994).
                                            This dimension was from the ground floor to the 20th floor
                                            parapet.

          2. Subcellar                      There are two sub-cellars. The height varies for each sub-cellar.

                                            Situated on the 151 sub-cellar are the staff lockers, employee
                                            cafeteria, training offices, food preparation areas for the
                                            restaurant, laundry, storage and mechanical equipment rooms.
                                                                                                                          ·-·.
                                            On the 2nd sub-cellar are the trash rooms (storage and
                                            compactor), maintenance work areas and mechanical rooms.                   .... ..
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      3. Cellar                             There is one cellar. The height varies within the cellar.
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                                             Also on the cellar are the following areas: barber shop, meter
                                             rooms, kitchen, pantries, storage and hotel offices.

       4. Number of Floors                   There are nineteen floors (eighteen floors plus penthouse) above
                                             grade: ground floor (with mezzanine), second floor (with
                                             mezzanine), 3-12, 14-19, 20 (Ballroom level). There is no 13th
                                             floor.

                                            The cellar level houses the spa and fitness areas as well as a hair
                                            salon. The sub-cellar level houses all the support facilities such
                                            as engineering, laundry, maintenance etc.

                                            The ground floor houses the retail space, the restaurant, bar and
                                            tea lounge. The lobby to the hotel is also located in this level. On
                                            the ground floor mezzanine are the hotel's executive offices and
                                            mechanical rooms.

                                            The meeting rooms and board rooms are located on the second
                                            floor. The accounting offices and mechanical rooms are located
                                            on the second floor mezzanine.

                                            The 8th and 9th Floors will house the Club Units, and the 1 olh and
                                            11 lh Floors will house the Suite Units.

                                            All the Hotel Unit guest rooms are located on floors 3-7, 11-12,14-
                                            19

                                            The ballroom is located on the 20th floor. This ballroom is part of
                                            the Hotel Unit.

      5. Equipment Rooms                   E:Juipment rooms are located throughout the building: at 1st and
                                           2 sub-cellar and roof. These equipment rooms are to remain as
                                           is.

                                           See Section M subsection 6 for further detail.

      6. Public Areas                      The ground floor lobby and public corridors have marble,
                                           carpeting and other finishes, typical of a luxury hotel. They are
                                           fairly well maintained and are in good condition.



G. Occupancy


                                           The current plan is for the building to have 24 Suite Units, 22
                                           Club Units, a Hotel Unit and a Retail Unit. Occupancy is to remain
                                           as J-1 in compliance with the current Certificate of Occupancy
                                           and applicable Department of Buildings rulings and interpretation.
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     H. Building Structure


           1. Foundation System                  The building's existing foundation system includes basement
                                                 walls, column footings, wall footing, pits and sub-grade drainage
                                                 and dates from the building's original construction 80 to 100 years
                                                 ago. Other than the interior face of portions of the perimeter
                                                 foundation wall, these foundation elements are typically not
                                                 accessible for review. The following determinations are based on
                                                 visual observations only and assume reasonable expectations as
                                                 to the adequacy of the structure. Although a substantial effort
                                                 was made to observe all areas of the building, not all portions
                                                 could be investigated due to obstructions or restricted access.

                                                 The foundation wall is a cast-in-place concrete wall that extends
                                                 under the footprint of the building. The existing sub-cellar level is
                                                 a concrete slab-on-grade and occurs at various elevations
                                                 connected by a series of concrete ramps. The slab-on-grade was
                                                 observed at numerous locations to be sloped to sub-grade drains.
                                                 Pits are typically covered with checker-plate covers.

                                                The sub-cellar mechanical room is typical of a hotel. Large pieces
                                                of mechanical equipment are mounted on four-inch high concrete
                                                pads. The slab-on-grade appears to be sloped to provide
                                                drainage for moisture produced by various mechanical units. In at
                                                least one location the slope is inadequate and an area of standing
                                                water was observed at the base of one of the units. This
                                                arrangement should be reconfigured to avoid prolonged exposure
                                                to water to prevent future deterioration.

                                                Several cracks observed in the refuse room sub-cellar slab-on-
                                                grade are insignificant and are not of structural concern.

                                                Several areas exhibit minor cracking of the unfinished slab-on-
                                                grade or of the VCT-type floor finish (at elevator entrances). The
                                                cracks observed were insignificant and are not of structural
                                                concern. If any cracked portions begin to impede serviceability of
                                                a particular area, such as causing obstructions to rolling carts, the
                                                cracks should be routed and grouted solid or the cracked sections
                                                should be replaced.

                                                There is no visible evidence of settlement of the overall structure.

                                                Except as noted above with respect to the foundation system or
                                                elsewhere in this report (including without limitation, Sections H.2,
                                                H.3 and H.5), there was no observed deterioration of mortar,
                                                spalling, cracks, bulges, leaning, moisture penetration or other
                                                distress with respect to the Building's masonry.
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      2.Structural System
                                              The_existing original structure is typically framed with concrete
                                              encased steel beams and columns. Floor slabs are cast-in-place
                                              cinder concrete spanning between steel beams and girders.

                                             Various columns located within the mechanical room are wrapped
                                             in brick enclosures. Several enclosures are exhibiting cracks that
                                             were noted to be approximately 1/8" in size. Although these
                                             cracks do not appear significant at this time, they should be
                                             checked periodically and repaired if the condition worsens.

                                             Large areas of non-original structure at the cellar and ground floor
                                             are visible, the majority of which was installed as part of the 1991
                                             renovation. These areas consist of structural steel with concrete
                                             slab-on-metal deck. Both steel and deck appear to be coated with
                                             a spray-on type fireproofing.

                                             Due to extensive mechanical distribution throughout the cellar
                                             and sub-cellar levels, numerous beams are missing patches of
                                             fireproofing due to hung piping connections. These locations
                                             should be carefully identified and patched with an appropriate
                                             fireproofing material.

                                            The underside of the cellar and ground floor framing are visible in
                                            some locations. Generally the undersides of the slabs and beams
                                            appear in sound condition. Some visible areas indicated areas of
                                            minor deterioration. Directly above the entrance to the sub-cellar
                                            Upholstery Room, a small section of concrete encasement
                                            appears to have partially detached from the base cellar slab. This
                                            area should be addressed and the slab checked for further
                                            damage.

                                            A portion of the cellar slab located above the refuse room
                                            appears damp. Sections of metal deck appear damp and several
                                            st~el beams show signs of rust. This area should be investigated
                                            further. The water source should be mitigated and the structural
                                            elements should be checked for adequacy.

                                             Some steel beams located over the mechanical room appear
                                            damp. Several beams are missing patches of fireproofing and
                                            exhibit signs of minor rust. This typically occurs at locations
                                            adjacent to the perimeter foundation wall. Although these
                                            locations do not appear of structural concern at this time, the
                                            beams should be reviewed and treated to prevent future
                                            deterioration due to water damage.

                                            Both the sub-cellar and cellar levels have wall partitions
                                            constructed of concrete-masonry units. Several locations exhibit
                                            hair1ine cracks. These partitions are non-bearing in nature and
                                            the cracks do not appear significant or cause for concern.
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                                                  Extensive kitchen spaces at the cellar level appear sound and
                                                  solid. The slabs are typically covered with rubber wear-surfaces               ~-
                                                  and the tops of the slabs are not visible. At the cellar level's
                                                  Butcher room, there are several broken floor tiles. The cracked
                                                  sections appear to oecur where a gentle ramp meets the level
                                                  corridor. It appears the tiles cannot withstand repeated bending
                                                  stresses and have cracked. This is not of structural concern, but if
                                                  the serviceability of the corridor is affected, the tiles should be
                                                  removed and replaced with a proper set to prevent future
                                                  cracking.

                                                  A steel beam located above and directly adjacent to the
                                                  Housekeeping Storage cage is exposed and appears to have a
                                                  build up of rust on its surface. The beam should be scraped and
                                                  checked for adequacy and properly treated to prevent future
                                                  deterioration.

                                                 Above the cellar level laundry chemical storage room, there
                                                 appears to be some loose ceiling material. Although this does not
                                                 appear to affect the floor structure, this condition should be
                                                 checked to prevent material from falling to the floor below.

                                                 The typical hotel corridors, guestrooms and ballroom spaces
                                                 accessed by DCE were found to be in sound condition. Extensive
                                                 finishes including carpeting, partitions and floor finishes
                                                 completely obstruct any observations of the structure. There is no
                                                 evidence to warrant further structural investigation of these
                                                 spaces.


                                                 In general, the building superstructure appears to be in sound
                                                 condition based on our visual observations. Discussions with on-
                                                site engineering staff and various back of house personnel
                                                revealed no reports of significant problematic areas that would
                                                warrant further structural investigation. Note that a complete gut
                                                renovation completed in 1991 exposed most areas of the
                                                building. Areas of the building that had experienced deterioration
                                                were addressed as part of that renovation effort. No major signs
                                                of distress were noted by DCE and the structural items of concern
                                                mentioned in this report are considered minor and can be
                                                remedied as part of a general building maintenance program.
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             3. Exterior Walls                  The St. Regis Hotel is a nineteen-story plus penthouse
                                                commercial building, 270 feet high, located at the southeast
                                                comer of Fifth Avenue and East 55th Street, which consists of the
                                                original building and an addition. The hotel is one of the most
                                                elegant and sophisticated Beaux-Arts style buildings in New York.
                                                Begun in 1901, the original structure was designed as the city's
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                                               most luxurious hotel by the firm of Trowbridge & Livingston. The
                                               St. Regis was commissioned by John Jacob Astor whose family
                                               had built the city's first luxury hotel, the Astor House of 1836.
                                               The addition was built in 1927 and designed by Sloan &
                                               Robertson. The City of New York designated as a Landmark the
                                               St. Regis Hotel, 699-703 Fifth Avenue, Borough of Manhattan
                                               and designates Tax Map Block 1290, Lot 69, Borough of
                                               Manhattan, as its Landmark Site on November 1, 1998.

                                               Following the tenets of the Beaux-Arts tradition, the hotel imitates
                                               a classical column, consisting of a base, shaft and capital. The
                                               first two stories of the hotel-the base, are deeply rusticated and
                                               pierced by round-arch openings at the ground story and square-
                                               headed windows at the second. A prominent balustraded
                                               balcony which runs continuously from the Fifth Avenue fayade to
                                              the East 55th Street elevation, is carried on massive console
                                              brackets with gar1ands. The third and fourth stories are fully
                                              rusticated too. The windows of the third and fourth are square
                                              headed while those of the fifth are segmentally arched. Slightly
                                              projecting balconies with elegant iron railings mark the windows
                                              of the fifth. The third through fifth stories are embellished by
                                              massive gar1ands which flank each of the bays with the exception
                                                                                                 1
                                              of the three central windows on Fifth Avenue. The condition of
                                              the balconies are described under the section on Local law 11
                                              under this same heading.

                                               The treatment of the next seven stories, the main shaft of the
                                               building, consists of segmental-arched windows with moldings
                                               and keystones, rusticated end bays, smooth-faced stone
                                               surrounding the central windows, and projecting sills with iron
                                               railings. Transition begins at the thirteenth floor from the shaft to
                                               the ornate capital of the mansard roof. The windows at this story
                                              are square-headed and at the end bays are flanked by stylized
                                              pilasters. The mansard roof begins at the fourteenth floor. The
                                              segmental windows of the fourteenth are flanked by monumental
                                              console brackets that carry a balustraded cornice that bows over
                                              the end bays. Behind the balustrade, the fifteenth and sixteenth
                                              stories are joined vertically. At the end bays, the windows are
                                              flanked by smooth pilasters that carry a broken pediment. The
                                              seventeenth and eighteenth stories are within the originally slate
                                              and copper mansard. The slates have been replaced with
                                              asphalt shingles. The roof is crowned by an undulating copper
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                                              cresting in a stylized shell motif.


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  New York Landmarks and Preservation Commission. St. Regis Hotel, 699-703 Fifth Avenue, Borough of
Manhattan: Architect Trowbridge & Livingston and Sloan & Robertson architects of extension, report. New York,
NY. The Commission, 1988.
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  New York Landmarks and Preservation Commission. St. Regis Hotel, 699-703 Fifth Avenue, Borough of
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                                                    The windows of the original hotel are intact with few exceptions.
                                                    All are kalamein and were designed as French casements with
                                                    transoms, the most elaborate reserved for the end bays.

                                                    The southern elevation of the hotel has a similar though simpler
                                                    treatment than the main facades. It is also faced with limestone
                                                    but the architectural details such as brackets, band courses and
                                                    window surrounds are flat, almost flush with the plane of the
                                                    elevation. Further east, wrapping around a light court, the
                                                    elevation is rendered in buff brick, stone and copper. Notable are
                                                    the projecting, full height copper bay and the two, flush copper
                                                    bays. A one-story high roof-top addition with a three-story tower
                                                    built of buff brick is visible above this elevation.

                                                    The Sloan & Robertson addition of 1927 on East 55th Street is
                                                    restrained and does not compete or detract from the original
                                                    building, but reinterprets the eartier design and restates it in
                                                    architectural terms of the 1920s. It follows the same pattern of the
                                                    original with a base, shaft and capital of the classical column. It
                                                    uses the same material of limestone and rises to the same height;
                                                   however, there is no ornament and all the windows are sharply
                                                   cut, recessed and square-headed. The first three stories are
                                                   deeply rusticated while the remaining stories are smooth-faced.
                                                   The seventeenth and eighteenth stories are vertically joined by
                                                   pilasters and topped by a parapet with urns. Behind the parapet
                                                                                                     3
                                                   is the two-story mansard roof with penthouse.

                                                   LOCAL LAW 11                                                             •
                                                   The most recent Local Law 11 report dated February 12,2002,
                                                   was filed as Cycle 5 by Arthur Kahane, Architect.

                                                   According to the report, the following walls were observed:
                                                      1. North elevation - full exposure, floors 1-18 plus
                                                          penthouse
                                                      2. West elevation- full exposure, floors 1-18 plus
                                                          penthouse
                                                      3. East elevation-- full exposure, floors 1-18 plus penthouse
                                                      4. South facade- full exposure, floors 1-18 plus penthouse

                                                  However, note that the exterior walls facing an enclosed
                                                  courtyard were not examined.                                              .   .
                                                                                                                            .....
                                                  The following recurring conditions were observed during the
                                                  inspections:

                                                       1.   Stone Spalls
                                                       2.   Stone cracks
                                                       3.   Brick fractures
                                                       4.   Mortar joints deterioration
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         NYC, Department ofBuildings, Manhattan. Plans, Permits and Dockets, Block 1290, Lot 69. Alt 267-1927
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                                                5.   Open or deteriorated sealant and
                                                6.   Distressed steel window lintels

                                           Attached to the NYC Local Law 11/98 report prepared in 2002 by
                                           Arhtur Kahane, Architect, are photographs that show specific
                                           locations of conditions. The noted building conditions were
                                           categorized according to the following schedule:

                                           Within 3 months
                                           • Northeast comer, 5th floor. Cracks and open joints - per on-
                                               site personnel this work has now been completed.

                                           Within 12 months
                                               At cornices, balconies, ornamentation, limestone joints. Joint
                                               mortar deterioration.
                                           • Typical condition. Sealant deterioration

                                           Within 18 months
                                          • Overhang, 16th floor. Spalled limestone sections
                                          • South elevation, 6th-12th floors. Spalls and cracks at window
                                              lintel ends.
                                          • Northwest comer, 6th-10th floors. Stone spalls
                                          • North, West and Partial South Elevation. Surface spalls
                                          • East elevation, upper floors. Corroded lintels, deteriorated
                                              bed mortar, brick spall at lintel ends, mortar deterioration at
                                              spandrel areas.
                                          • East elevation, West elevation facing the rear courtyard and
                                              stair tower at West elevation, masonry vertical crack.

                                          The report's conclusion and recommendations states that the
                                          condition of the building is being categorized as safe with a repair
                                          and maintenance program. The close up representative
                                          inspection from the scaffold revealed some joint deterioration of
                                          mortar and sealant and spalled stone, particularly at steel
                                         supports on the upper floors. It was beyond the scope of the
                                         survey to inspect close-up every part of the building. However
                                         the building is very ornate with stonework and joints and it is
                                         recommended that the building owner, within the next 2 years,
                                         should undertake a program under the guidance of a licensed
                                         architect, where inspections from a scaffold will be made of all
                                         fayades, especially those with limestone and ornamental
                                         stonework sounded. The architect should then develop plans and
                                         specifications for the restoration of any deficient structure and
                                         materials and a repair program instituted.


                                         According to The St. Regis Assistant Chief Engineer, Mr. Afzal
                                         Siddiqui, an examination from a scaffold of the entire building has
                                         not been conducted since the report was filed in Feb. 12, 2002.
                                         The Assistant Chief Engineer added that caulking replacement
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                                                                                                                           '            i


                                                                                                                                    ' .
                                           was performed in 2002, observed by Arthur Kahane, Architect.

                                           Plans and specifications for the restoration of the deficient
                                           structure and materials and a repair program was not developed
                                           and repairs not perfonned except for the caulking replacement.

                                           The NYC Local Law 11/98 report indicated only two specific
                                           recommendations: lintel and sealant replacement. Only the
                                           sealant replacement was completed. There are other significant
                                           conditions, which need to be addressed, but corresponding
                                           recommendations were not included in the report by Arthur
                                           Kahane, Architect.

                                           West Elevation:

                                           1. Mortar deterioration is typically displayed at the water table
                                           below the balustrade at the 4th floor level.

                                           Recommendation: Install lead tees at water table cross joints.
                                           We recommend to be conducted within 2 years.


                                          2. Brick crack is evident at the northwest comer and runs
                                          between the 4th to 6th floors and some on the upper floors.

                                          Recommendation: Replace brick comer; repair, scrape and paint
                                          exposed steel; and install flashing. We recommend to be
                                          conducted within 2 years.

                                          3. A section of the limestone cartouche was removed previously,
                                          probably due to spalls. We noted limestone material has been
                                          removed recently, and currently there does not appear to be any
                                          additional loose limestone material. However, the exposed
                                          sect~on of the stone appears to be more porous and could easily
                                          absorb moisture and eventually spall further.

                                          Recommendation: Patch spalled limestone and install stainless
                                          steel pins for spalls more than 2" deep. We recommend to be
                                          conducted within 3 years.



                                          West Elevation at Courtyard.                                                         '.

                                         4. The fa~de is constructed of bricks, limestone quoins and
                                         decorative copper window surrounds. There is minor
                                         deterioration on the copper ledges and an open crack,
                                         approximately X" wide and approximately 5" long, through the
                                         copper. Copper ledges at the lower floors have an accumulation                             . ·. '
                                                                                                                                    .
                                         of guano which is not aesthetically pleasing but it causes more
                                         harm than what is visible. It is composed of a combination of

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                                            acids that corrode the metal.

                                            Recommendation: Although there are no reported leaks related
                                            to the crack, we recommend soldering a patch over the cracked
                                            area. At the lower ledges, we recommend removing the guano
                                            and install a bird control product such as bird spikes or netting.
                                            We recommend to be conducted within 2 years.

                                            5. There is a wide crack at the South end, repaired with sealant
                                            that runs along approximately 8 stories. The West courtyard
                                            elevation offsets further to the East where the fa~de is
                                            constructed of face bricks and limestone bands. There is a crack
                                            at the South end that runs approximately 1 story.

                                           Recommendation: Replace cracked face bricks; repair, scrape
                                           and paint exposed steel; and install flashing. We recommend to
                                           be conducted within 2 years.


                                           North Elevation:

                                           7. A typical condition observed are cracks originating from the top
                                           comers of the third floor window to the bottom of the water table
                                           at the fourth floor. These cracks are repaired by sealant.

                                           Recommendation: Install steel shelf angles with flashing above
                                           the stone arch and replace the cracked stones.
                                           We recommend to be conducted within 2 years.

                                           8. A crack in stone veneer about 3 stories high runs along the
                                           East end comer of the original building.

                                          Recommendation: Replace the cracked stones; repair, scrape
                                          and paint exposed steel; and install flashing. We recommend to
                                          be conducted within 2 years.

                                          9. Stone spalls are observed randomly on the     fa~de.

                                          Recommendation: Sound the stone and remove loose material.
                                          Install stainless steel pins for spalls more than 2" deep, and apply
                                          appropriate patching material. If a large section is loose, stone
                                          replacement may be necessary. We recommend to be conducted
                                          within 2 years.


                                          East Elevation:

                                          9. At the St. Regis extension on the East, mortar deterioration is
                                          observed at the spandrel areas below the window.

                                          Recommendation: Repaint brick mortar. We recommend to be
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                                                                                                                          ...
                                            conducted within 3 years.

                                            10. A wide stone crack is displayed at the southeast comer and
                                            runs at about 75% of the building height. The crack is currently
                                            repaired with sealant.
                                                                                                                     ·.

                                           Recommendation: Replace stones; repair, scrape and paint
                                           exposed steel and; install flashing. We recommend to be
                                           conducted within 1 year.

                                           11. At the northeast comer brick cracks were found intermittently.

                                           Recommendation: Replace bricks; repair, scrape and paint
                                           exposed steel and install flashing. We recommend to be
                                           conducted within 3 years.

                                           12. Joint material is deteriorated at the expansion joint.
                                                                                                                     . ··-

                                           Recommendation: Replace joint sealant.
                                           We recommend to be conducted within 2 years.



                                           East Elevation at Courtyard of Original Building.

                                           13. The fac;ade consist of bricks and limestone window sills.
                                           There are random brick cracks on the elevation. There is a
                                           significant crack running through the South end comer of the
                                           structure.

                                          Recommendation: Replace brick comer; repair, scrape and paint
                                          exposed steel; and install flashing. We recommend to be
                                          conducted within 1 year. Replace face bricks, we recommend this
                                          to be conducted within 3 years.

                                          14. At the South end of the East elevation, the following
                                          conditions were found: mortar deterioration, crack through the
                                          keystone above the windows, brick spalls, and a significant crack
                                          through the South end comer that runs through the entire height
                                          of the building·

                                          Recommendation: Install stainless steel pins through the cracked
                                          keystone. We recommend to be conducted within 1 year
                                          Repoint bricks; replace brick comer; repair, scrape and paint
                                          steel; and install flashing. We recommend to be conducted within
                                          2 years.


                                          South Elevation:
                                                                                                                     ..
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                                          Access to the 4 courtyards was necessary to view the South
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                                              elevation.

                                              15. The West end of the South elevation is constructed of
                                              limestone with arch windows. Limestone window surrounds with
                                             a keystone frame the windows. Limestone spall is displayed at
                                             the fifth floor level and typically at the window head surrounds. A
                                             number of the keystones have horizontal cracks. Typically, the
                                             underside of the window heads also exhibit cracks running
                                             lengthwise. One window even shows a mesh installed on the
                                             underside of the limestone window head, which appears to
                                             temporarily stabilize the crack. A crack approximately 2 stories
                                             high at two areas, run through the limestone quoins at the West
                                             end comer.

                                             Recommendation: Patch· spalled stone; install stainless steel
                                             pins through the cracked keystone. Replace any cracked stone
                                             which are significantly loose and displaced. We recommend to
                                             be conducted within 1.year. Replace the cracked stones; repair,
                                             scrape and paint steel; and install flashing.
                                             We recommend to be conducted within 2 years.

                                             South Elevation at Courtyard of Original Building.

                                             16. The central courtyard elevation has bricks, concrete window
                                             sills and extensively decorative copper window surrounds. There
                                             are a few brick hair1ine cracks, cracks at limestone window sills
                                             and slightly dented copper window surrounds.

                                            Recommendation: Replace bricks; square cut stones adjacent to
                                            crack, install stainless steel pin or staple and patch; and since
                                            there are no reported leaks related to the slightly dented copper,
                                            it appears that repairs would probably be more harmful than
                                            helpful. We recommend to be conducted within 3 years.

                                            17. The East end of the South elevation of the original building
                                            was not observed and is not included in this report due to lack of
                                            access.

                                             18. The extension building is constructed of common bricks and
                                             punched with double hung windows with steel lintels. There is
                                            mortar deterioration and spall at the ends of the window lintels
                                            and random hair1ine cracks. The comer at the East end is
                                            covered with a wide metal stack and therefore under1ying
                                            conditions were concealed and not observed. Considering that
                                            the comers at the building generally exhibit vertical cracks, we
                                            recommend that probes be performed to determine the existing
                                            steel condition.

                                            Recommendation: Replace window lintel & flashing and replace
                                            bricks. We recommend to be conducted within 2 years.
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                                              Courtyard Elevations at Building Extension

                                             2-5 story wing extensions, with a total of 4 elevations are located
                                             on the South side of the extension building.

                                              19. The fayade is constructed of buff colored bricks with 4 rows of
                                              windows. The lower 2 rows of window openings are enclosed
                                              with bricks. The four elevations exhibit typical conditions and will
                                              be discussed as a general condition in this paragraph. The
                                              parapet is in severe deterioration with cracks originating from the
                                             top comer of the topmost windows to the top of the parapet.
                                             Some of the cracks are repaired with sealant. The bricks are
                                             displaced at the lintel level. The parapet is significantly
                                             deteriorated. Vertical cracks are observed at the South side
                                             corners, with displaced bricks, approximately at about 1-1/2".
                                             Recommendation: Replace parapet and brick comer; repair,
                                             scrape and paint steel; install continuous shelf angle; and install
                                             flashing. We recommend to be conducted within 1 year.

                                             Penthouse Bulkhead

                                             20. The penthouse bulkhead is covered with stucco which exhibit
                                             cracks. at the lintel and door & window surrounds.

                                            Recommendation: Remove loose stucco and replace stucco to
                                            match existing. Repair, scrape and paint exposed steel and
                                            install flashing. We recommend to be conducted within 2 years.

                                            Mechanical Bulkhead

                                            21. The mechanical bulkhead is covered with stucco which is
                                            peeling. It appears that the substrate was not prepared property
                                            and primer not applied prior to final stucco coating. Holes are
                                            haphazardly punched through the wall for conduit penetrations.

                                            Recommendation: Scrape off loose stucco and paint and apply
                                            new masonry coating to match existing. Install sealant around
                                            penetrations. We recommend to be conducted within 2 years.

                                            Maintenance Items

                                            22. Sealant replacement is a maintenance item, which should be
                                            conducted approximately every 5 years.

                                            Recommendation: Replace sealant around windows and doors.
                                            We recommend to be conducted within 1 year.
                                                                                                                     ·-·.
                                            Sponsor has advised that no vertical or other types of cracks
                                            have been reported to be unstable and or all such cracks                 .: .·   ·.=
                                            requiring repair have been repaired or will be repaired in
                                            compliance with applicable laws. Owner has advised that any                  .-
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                                              remaining required Local Law 11 repair work described in the
                                              2002 Local Law 11 report (including replacement of deteriorated
                                             mortar and calking, sealing of cracks and scraping of spalled
                                             limestone) is being completed by Owner, at Owner's expense.
                                             Owner further advises that to the extent the 2002 Local Law 11
                                             report recommends ongoing maintenance and repair programs or
                                             monitoring programs, such ongoing work will, after completion of
                                             the required initial repairs by Owner, which are anticipated to be
                                             completed during 2006, constitute an ongoing general common
                                             expense of the condominium shared by all unit owners. The cost
                                             of future local law fayade inspections and compliance would also
                                             constitute a general common expense of the condominium.

      4. Doors and Windows                    All the guestroom windows were replaced in an extensive
                                              renovation done in 1991. As such, they are generally in good
                                              condition. These are double hung aluminum windows with
                                              insulated clear glass glazing. While it is beyond the scope of the
                                             Architect's survey to document the condition of each and every
                                             window in the building, as noted above, the windows that were
                                             inspected were in generally good condition. Further, Owner's
                                             maintenance staff advises that, the building has not experienced
                                             any problems with the windows such as rotted sashes or frames,
                                             loose glazing, missing putty etc.

                                             On the 20th floor ballroom area, there are some of the original
                                             doors which were kept intact in keeping with the original fayade
                                             design.

                                             All existing masonry openings for doors and windows along the
                                             exterior walls are to remain as is. There are existing lot line
                                            windows along the eastern and southern fayades. Under the
                                            provisions of the New York City Building Code, in the event that
                                            the adjacent property is redeveloped or reconfigured, the lot line
                                            windows would need to be closed up. Therefore, for units where
                                            lot line windows exist, there are other windows which would
                                            satisfy the light, air anq other requirements for the lawful use of
                                            such habitable rooms.

                                            According to information provided by the Owner, the building is
                                            not currently experiencing leaks from windows. While it was
                                            beyond the scope of the Architect's survey to document the
                                            condition of every window in the building, the sampling of the
                                            windows that were inspected showed no evidence of leakage.

     5. Roof and Roof Structures            The building's roof has several bulkhead structures added on to
                                            the building during various renovations. Extensive arrays of
                                            mechanical equipment are positioned on the roof and supported
                                            with steel dunnage platforms. In general, the steel platforms
                                            appear sound and in good condition. Some platform pieces
                                            exhibit minor rusting and should be scraped and painted with an
                                            appropriate weatherproof coating to prevent future deterioration.
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                                               Some of the bulkhead wall structures' wall finishes appear to be
                                               deteriorating. The deterioration does not appear to have affected
                                               the building's structure, but this condition should be reviewed and
                                               repaired to prevent future damage.

                                               The roof perimeter appears to have an adequate railing
                                               configuration. Applying body weight-type pressure against the
                                               railings at various locations revealed the railings to be sound and
                                               capable of resisting New York City Building Code side load.

                                               The parapet is in severe deterioration with cracks originating from
                                               the top comer of the topmost windows to the top of the parapet.
                                               Some of the cracks are repaired with sealant. The bricks are
                                               displaced at the lintel level. Vertical cracks are observed at the
                                               South side comers, with displaced bricks, approximately at about
                                               1-1/2". The parapet is significantly deteriorated. We recommend
                                               that the parapets be replaced.

                                               As per the infonnation provided by the Owner, it has completed
                                              the repair, sealing of cracks and refinishing of the Penthouse
                                              parapet walls at the end of 2005. The replacement of the roof
                                              above the 20th floor Ballroom (approx. 4,200 sq ft) the Owner
                                              expects to complete by the first quarter of 2006. The Owner also
                                              states that the replacement roof shall be comprised of: Asphalt
                                              Primer, followed by two layers of torch-down asphalt elastomer
                                              sheets (either Siplast Paradiene 20 TG & 30 TG FR or%" duro-
                                              board with 2 plys of Johns Mansville SBS Torch Down System),
                                              reuse copper flashing to extent possible and brush-on and/or
                                              roller applied flashing at penetrations (e.g., Siplast Parapro
                                              membrane resin). This roof shall be covered with a 20-year
                                              manufacturer warranty.

                                              An exposed beam flange at the entrance to the Elevator Machine
                                              Room should be fireproofed with an appropriate material. Some
                                              minor cracks were observed in the CMU (Concrete Masonry Unit)
                                              wall directly below this beam, but the cracks do not appear
                                              significant ~nd are not of structural concern.

                                              As per the information provided by the Owner, there are currentJy
                                              no leak related problems at the roof.

         6. Balconies and Terraces           All existing balconies to remain. There are no terraces in the
                                             property.

                                             The balconies and their condition are described in Section H.3            ~·   .
                                             (Exterior Walls) above. None of the Suite Units or Club Units
                                             access the step-out balconies. All step-out balconies are
                                             accessible only through the Hotel Unit.

        7. Exterior Entrances                There are two decorative bronze revolving doors along the East



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                                           55th Street fac;ade which provides guest access to the hotel lobby.
                                           There are three pairs of entry doors opening into the restaurant,
                                           bar and tea lounge entrance lobby.

                                           These entrances appear to be fairly well maintained and
                                           therefore, in good condition.

                                           There is a pair of double doors to the retail establishments along
                                           Fifth Avenue. Per Sponsor, these retail doors were installed by
                                           the Retail Tenants in 2004 and 2005 and are in good condition.
                                           All existing doors to the exterior are to remain as is.

      8. Service Doors                    There is a pair of doors on the west side of the E 55111 street
                                          fac;ade providing access to the service vestibule and freight
                                          elevator.

                                          All existing service doors are to remain as is and appear to be in
                                          good condition.



     9. Interior Stairs                     The building utilizes three primary stairwells that extend the full
                                            height of the building and are designated Stairwells A, B and C.
                                            Stair A is located in the eastern portion of the building and
                                           typically consists of steel stringers with stone finish at the treads.
                                           It is unclear what the actual treads and risers supports are
                                           constructed of. Some of the tread finishes have minor cracks.
                                           Some cracks appear to have been repaired with a grout type
                                           finish. The cracks appear insignificant and do not compromise the
                                           capacity of the stair. The finishes should be checked/monitored
                                          for further cracking to maintain safe serviceability. The stair
                                          sections appear to have been replaced from the 15th to 17th
                                          floors. Stair construction appears to be of cast-in-place concrete
                                          at these locations. A small crack at the 15th Floor cast-in-place
                                          landing may require repair and should be investigated further.
                                          Interior sections of the stairwell at the 6th and 7th Floors appear
                                          to have flaked or cracked off. Portions on other floors appear to
                                          have been repaired. It is unclear what has caused this condition.
                                         Although this condition does not appear of structural concern, it is
                                          unclear what has caused this and it should be investigated
                                         further. A stringer framing from the 19th to the 20th Floor shows
                                         signs of rust. The proximity of this portion of the stair to the roof
                                         and adjacent windows indicates a leak may be the cause of the
                                         rust. The stringer should be checked for deterioration and the
                                         leak source stopped. The remainder of the stair appears sound
                                         for its entire height.

                                         Stair B is centrally located within the building and is directly
                                         adjacent to the passenger elevators. This stair is ornate in
                                         appearance and has extensive finishes. No structural concerns
                                         were noted, and the stair appears sound and solid for its entire
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                                                  height.

                                                  Stair C was not part of the original 1904 construction and was
                                                  added as part of the 1991 renovation. This stairwell is cast-in-
                                                  place construction and appears sound and solid for its entire
                                                  height. No significant cracking was observed in any of the stair
                                                  runs or landings.

                                                  These three stairs which are required for egress from the
                                                  guestroom levels to the exterior, have a 2 hour minimum fire
                                                  rating requirement.

                                                  Numerous interior stairs connect the multiple floor elevations at
                                                  the ground, cellar and subcellar levels. The stairs observed were
                                                  found to range from steel stringers and steel treads and risers, to
                                                  concrete stairs-on-grade. Stairs appeared to be solid.


           10. Interior Doors and Frames          Most of the existing doors and frames are to remain except for
                                                  the doors for closets and powder rooms which are to be
                                                  converted to pantries.

                                                 Generally doors from the units to the corridor are wood with a %
                                                 hour rating. These are typically fireproof and self closing (FPSC),
                                                 with a 'C' Label. All of these doors are from the existing hotel
                                                 guestroom units, and will remain as is.

                                                 In certain instances where multiple units are combined to create a
                                                 larger unit, there will be new communicating doors along the
                                                 existing demising walls. The doors and frames will be painted
                                                 flush panel wood, 1 %"thick, 3/4 hour rated. Double doors can
                                                 also be installed, each with a % hour rating 'C' Label.

                                                 Doors to means of egress (i.e. stairs) have a rating of 1 %hour or
                                                 45 minutes minimum and are FPSC. These are all existing to
                                                 remain as is.

                                                 In assembly spaces (i.e. meeting rooms, ballroom etc.), doors
                                                 that lead to the corridors are 'B' Label, 1% hour rated and FPSC.

                                                 In general, these doors and frames are fairly well maintained and
                                                 are in good condition.                                                 ...
          11 . Elevators                         All elevators have either been modernized or installed new, as
                                                 part of the overall building renovation that was undertaken in the
                                                 late 1980's and completed in March of 1991. As part of this work,
                                                 all elevators received new microprocessor controls, new hall and
                                                 car pushbutton fixtures, new door operation equipment and new
                                                 or fully refinished cab enclosures. Inasmuch as the accepted
                                                 industry standard life for a new microprocessor control system is
                                                 conservatively placed at approximately 25 years, these systems

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                                           have over a third of their expected, useful and reliable life
                                           remaining ahead of them, as of this writing.

                                           Maintenance:
                                           Since the modernization I installation, all elevators have been
                                           continuously under the care of the original installer and
                                           modernizer of the equipment, Otis Elevator.

                                           The elevator systems I banks are arranged as follows:

                                           FE-1     Service Elevator #1
                                          Capacity I Speed: 4,000 lbs. @ 125 fpm
                                          Hydraulic with in-ground plunger
                                          Control: Otis, in good condition considering age and usage
                                          Motor Room at SC1
                                          Floors Served: SC1, C, Street
                                          3 Landings with 3 Openings, all Front
                                          Door Size is 5' 4" W X 7' 0" H, Vertical Bi-Parting Peelle,
                                          pushbutton operation
                                          Doors are in fair to good condition considering age and usage
                                          Platform Size: 5' 8" W X 8' 8" D
                                          Cab: Sheet steel construction with diamond plate floor, in fair to
                                          good condition considering age and usage

                                          Passenger Elevator #2
                                          Capacity I Speed: 2,000 lbs. @ 100 fpm
                                          Hydraulic with in-ground plunger
                                          Control: Otis, in good condition considering age and usage
                                          Motor Room at SC-1 (LL)
                                          Floors Served: Front - L and LL. Rear- Street
                                          3 Landings with 3 Openings, 2 Front and 1 Rear

                                         Door Size: 3' 0" W X 7' 0" H, Single speed slide
                                         Platform Size: 6' 0" W X 5' 5" D
                                         Cab: Wood and mirrored walls, inlaid floor, in very good condition
                                         considering age and usage.

                                         Service Elevators #3 and 4
                                         Capacity I Speed: 2,000 lbs. @ 600 fpm
                                         Gearless Traction 1:1 (Otis #74) Ropes in good condition
                                         considering age and usage
                                         Control: Otis Elevonic-401 Microprocessor, in good condition
                                         considering age and usage
                                         Motor Room at Roof
                                         Floors Served: SC2, SC1, C, G, M, 2, 2A, 3-12 and 14-20
                                         24 Landings with 24 Openings, all Front
                                         Door Size: 4' 0" W X 7' 0" H. 2-Speed slide
                                         Platform Size: 6' 6" W X 4' 6" D
                                         Cab: Rigidized stainless steel and diamond plate, in fair to good
                                         condition considering age and usage
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                                           Service Elevator #5
                                           Capacity I Speed: 4,000 lbs. @ 500 fpm
                                           Gearless Traction 2:1 (Otis #139HT) Ropes in good condition
                                           considering age and usage
                                           Control: Otis Elevonic-401 Microprocessor, in good condition
                                           considering age and usage
                                           Motor Room at Roof
                                           Floors Served: Front- SC1, C. G, M, 2, 2A. and 20. Side- 3-12
                                           and 14-20
                                           23 Landings with 24 Openings
                                           Door Size: 4' 0" W X 7' 0" H (West) and 3' 6" W X 7' 0" H (North)
                                           Platfonn Size: 8' 8" W X 5' 8" D
                                           Cab: Rigidized.stainless steel and diamond plate, in fair to good
                                           condition considering age and usage

                                          Passenger Elevator #6
                                          Capacity I Speed: 6,000 lbs. @ 700 fpm
                                          Gearless Traction 2:1 (Otis #139HT) Ropes in good condition
                                          considering age and usage
                                          Control: Otis Elevonic-401 Microprocessor, in good condition
                                          considering age and usage
                                          Motor Room at Roof
                                          Floors Served: L, 2 and 20
                                          3 Landings with 3 Openings, all Front
                                          Door Size: 6' 0" W X 7' 0" H, 2-Speed Center Opening
                                          Platform Size: 10' 0" W X 6' 10" D
                                          Cab: Wood and mirrored walls, inlaid floor, in very good condition
                                          considering age and usage.                                               •
                                          Passenger Elevator #6A
                                          Capacity I Speed: 3,500 lbs. @ 700 fpm4
                                          Gearless Traction 2:1 (Otis #139HT) Ropes in good condition
                                          considering age and usage
                                          Control: Otis Elevonic-401 Microprocessor, in good condition
                                          considering age and usage
                                          Motor Room at Roof
                                          Floors Served: L, 2-12 and 14-20
                                                                                                                            .·
                                          19 Landings with 19 Openings, all Front
                                          Door Size: 4' 0" W X 7' 0" H
                                          Platform Size: 8' 0" W X 5' 6" D
                                          Cab: Wood and mirrored walls, inlaid floor, in very good condition
                                          considering age and usage.
                                                                                                                       .·    .
                                          Passenger Elevators #8, 9, 10 and 11
                                          Capacity I Speed: 2,000 lbs. @ 600 fpm
                                          Gearless Traction 1:1 (Otis #74) Ropes in good condition
                                          considering age and usage
                                          Control: Otis Elevonic-401 Microprocessor, in good condition
                                          considering age and usage                                                .· .


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                                           Motor Room at Roof
                                           Motor Room at Roof
                                           Floors Served: Front- LL, L, 2-12 and 14-20
                                           20 Landings with 20 Openings, all Front
                                           Door Size: 2'   e-
                                                           W X 7' 0" H, Single Speed Slide
                                           Platform Size: 4'10" W X 5' 2" D
                                           Cab: Wood and mirrored walls, inlaid floor, in very good condition
                                           considering age and usage.

                                           Service Elevator #12
                                           Capacity I Speed: 2,500 lbs. @ 150 fpm
                                           Hydraulic with in-ground plunger
                                           Control: ESCO, in good condition considering age and usage
                                           Motor Room at SC1
                                           Floors Served: SC1, L, M, 2
                                           4 Landings with 4 Openings, all Front
                                           Door Size is 3' 0" W X 7' 0" H, Single Speed Slide
                                           Doors are in good condition considering age and usage
                                           Platform Size: 4' 7" W X 6' 7" D
                                           Cab: Rigidized stainless steel and diamond plate, in good
                                           condition considering age and usage

                                           Elevator #14 (Sidewalk Elevator)
                                           Capacity I Speed: 2,000 lbs. @  -so   fpm
                                          Wind-Up Cable Drum Machine
                                          Control: Gillespie #7308 , in fair condition considering age and
                                          usage
                                          Motor Room at C
                                          Floors Served: C, Street
                                          2 Landings with 2 Openings
                                                               o·
                                          Door Size is -6' W X 6' 6" H. Bi-Parting Swing, manual
                                          operation.
                                          Doors are in fair condition considering age and usage
                                          Platform Size: 5' 8" W X 8' 8" D
                                          Cab: Sheet steel construction with diamond plate floor, in fair
                                          condition considering age and usage

     12. Elevator Cabs                   The passenger elevators have millwork finishes along the walls
                                         with raised panels and carved moldings. The floor has a stone
                                         finish that is consistent with the public floor finishes.

                                         These elevator cabs appear to be fairly well-maintained and in
                                         good condition.

                                         All existing to remain as is.

    13. Elevator Inspections             Per Sponsor, elevator inspections and permits are updated on a
                                         regular basis and the same will, to the extent they would
                                         otherwise expire, be updated and available for inspection at the
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                                                                                                                      ' .
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                                           building, prior to closing of sales of Suite Units and Club Units.
       14. Fire Escape                     None.



I.   Auxiliary Features


       1.Laundry Room           There is an existing laundry facility in the 2nd sub-cellar. Access to an
                                existing laundry chute on each floor is thru the Service corridor. The laundry
                                facility as well as the laundry chute is fully sprinklered. The laundry facility is
                                part of the Hotel Unit and is owned, accessed and used only by the hotel
                                personnel. Per Owner, the laundry facility is in satisfactory working
                                condition.
                                                                                                                            -·
      2. Refuse Disposal        There is an existing refrigerated refuse room and trash compactor room at
                                the second sub-cellar. There are no existing trash chutes. Per Owner, the
                                compactor is in satisfactory working condition.

      3. Fitness Center        There is an existing fitness center and spa at the cellar level which can be
      and Spa                  accessed by using the stairs from the lobby or passenger elevators. These
                               areas are within the Hotel Unit. An extensive renovation done in 2003
                               included the upgrade of the existing finishes and the installation of new
                               exercise equipment and accordingly the facility appears to be well
                               maintained and in good condition. See Schedule A below:

                                     Schedule A - Equipment Covered (as provided by St. Regis Hotel)

                                 Cardiovascular
                                 Equipment                               Serial Number        Warranty Exp
                                 Life Fitness Treadmills TR9500HR        HT0100820            Yes
                                 Life Fitness Treadmills TR9500HR        HT0100834            Yes
                                 Life Fitness Treadmills TR9500HR        HT0100833            Yes
                                Life Fitness Treadmills TR9500HR         HT0100838            Yes
                                Life Fitness Elliptical CT9500R          CTG-118212           Yes
                                Life Fitness Elliptical CT9500R         CTG-118211            Yes
                                Life Fitness Bike LC9500RHR -                                 Yes
                                Recumbent                               CEF100245
                                Life Fitness Bike LC9500RHR -                                 Yes
                                Recumbent                               CEF100247
                                Life Fitness Bike LC9500RHR -                                 Yes
                                Upright                                 206325
                                Life Fitness Bike LC9500RHR -                                 Yes
                                Upright                                 208233
                                StairMaster 4400CL                      130070108018          Yes
                                StairMaster 4400CL                      130070108007          Yes




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                                  Resistance                              Serial
                                  Equipment                               Number               Warranty Exp
                                                 .
                                  Precor lcarian Cable Column             013309               Yes
                                 lcarian Seated Leg Curl                  619                  Yes
                                 lcarian Chin-Dip Assisted                3210                 Yes
                                 Nautilus Ab Crunch                       2ABXXX000189         Yes




J.   Plumbing and Drainage


       1.Domestic Supply                  The existing domestic water service and distribution piping shall
                                          remain with some minor work to correct building department
                                          violations, replace occasional leaking valves; double check valves
                                          (backflow preventors) shall be installed on all domestic water
                                          services, as per New York City D.E.P. requirements. A separate
                                          water meter shall be provided on the cooling tower make-up
                                          water lines to measure water consumption for adjustments to the
                                          sewer tax.

                                           Presently, the entire domestic water distribution is supplied from
                                          the building house tank to a gravity system having several
                                          pressure zones. The top floors of the building, including the
                                          cooling towers are supplied from a Booster Pressure Pump
                                          System. The lower portions of the building (below grade areas,
                                          and 2nd floor) are supplied from street pressure. Domestic hot
                                          water is provided in steam generator instantaneous (shell and
                                          tube) water heaters. The domestic hot water system consists of
                                          four (4) zones, two (2) heaters per zone, plus a separate zone for
                                          commercial kitchens.

                                         The heaters and piping are installed to match the water
                                         distribution pressure zones. Each domestic hot water piping
                                         system has a recirculating piping system to maintain Hot water
                                         temperature within the system during no flow conditions. Laundry
                                         area and kitthens (commercial) are provided with separate water
                                         heaters which remain the property of the hotel unit owner.

                                         Water Heater Schedule


                                          Zone       Floors         No.   Manufacturer Model     Serial No.
                                          No.                             No.
                                          1          15th- 20A      2     Nat'l 80 15104         S-15026.40 TK1
                                          2          8th- 14th      2     Nat'l 80 15104         S-15026.40 TK1
                                          3          2A-7th         2     Nat'l 8015104          S-15026.40 TK1
                                          4          C2-2,..        2     Nat'l 80 15104         3-15026.30 TK-1
                                          5          CJ Main        2     Nat'l BO 4321          S-14666.10 TK-2
                                                     Kitchen
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                                           Each domestic zoned hot water piping system has a design re-
                                           circulating piping system to maintain design hot water
                                           temperature within that system during no flow conditions.

                                           The domestic hot water supply generated by the various water
                                           heaters provides sufficient hot water to satisfy the required
                                           domestic hot water flows throughout the building. The water
                                           heaters in the building are in good condition.


     2. Sanitary Sewage System             The existing sanitary drainage system is constructed of cast iron
                                           pipe and fittings and is in good condition. The drainage system
                                           flows by gravity and connects to the municipal street sewer
                                           system.

                                           All sanitary fixtures located below grade are connected and flow
                                           by gravity into an existing duplex sewage ejector located in the
                                           sub-cellar area. Ejector discharge connects to the gravity house
                                           sewer leaving the building.                                                        ·.
                                           All commercial kitchen drainage systems are connected to grease
                                           interceptors (localized) prior to connecting into the building
                                           sanitarY drainage system.

                                          Lint screens are provided in drainage troughs that receive
                                          discharge from the laundry washing machines.



    3. Stann Drainage System              Existing storm drainage system is constructed of cast iron pipe
                                          and fittings and is in good conditions and shall remain. The storm
                                          drainage is a complete separate system within the building
                                          connecting roof drains, terrace drains and clear water wastes.

                                          The system flows by gravity and connects to a combined house
                                          sewer prior to exiting the building.

                                          Below grade areas receiving clear water waste and area drains
                                          flows by gravity to a duplex sump pump located at the sub-cellar
                                          level. The sump pump discharge connects to the gravity building
                                          storm drainage system.

    4. Natural Gas                       The building presently has gas service and a piping system
                                         constructed of schedule 40 black steel pipe. The system is in
                                         good condition and shall remain.
                                                                                                                         ·.
                                         The piping system at the present time connects to the commercial
                                         kitchen cooking equipment and commercial laundry dryers, all
                                                                                                                 ~
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                                                                                                                          ..

                                         through a single gas meter.


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          5. General                              Basically all present piping systems and equipment were installed
                                                  14 years ago and are in good condition, and shall remain
                                                  including plumbing and fire protection equipment, i.e., house
                                                 pumps, pressure booster pump, domestic water heaters, sewage
                                                 ejectors, sewage pumps, house storage water tank, automatic fire
                                                 pumps and general services fire pump. New piping (waste, vent
                                                 and water) shall be required for new pantry sinks in the specified
                                                 units. Per Owner, there are no active leaks, nor are leaks
                                                 frequent.




 K. Fire Protection


          1.Fire Protection                     Fire Protection systems exist throughout the entire building. Fire
                                                protection consists of combined fire standpipe risers serving
                                                automatic wet sprinkler systems at each floor. Fire hose and
                                                valves are located at each stair landing and throughout the cellar
                                                and sukellar areas.

                                                The fire protection system from the 3rd floor and up is supplied
                                                via an automatic fire pumps. Fire protection on floors below the
                                                3rd floor are supplied from street pressure. However the entire
                                                sprinkler system is supplied from the fire pump.

                                               Each floor sprinkler system is provided with a shut off valve with
                                               tamper, flow control and inspectors test. Pressure reducing
                                               valves are installed on sprinkler system having greater than 175
                                               psi. Per Owner, there are no active leaks, nor are leaks frequent.

                                               All units are fully sprin~lered including closets. Depending on the
                                               extent of modification/ relocation of interior partitions, additional
                                               sprinkler heads may be required and existing heads could be
                                               removed.



L.     Heating Ventilation and Air Conditioning


         1. General                            The site is served by a central chilled water and hot water
                                               system. Chilled water is provided by electric centrifugal chillers
                                               located in the central plant and hot water is provided by utilizing
                                               Consolidated Edison steam through a plate and frame heat
                                               exchanger. Each area of the building is conditioned utilizing the
                                               chilled water and hot water systems.
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                                                                                                                         ..
      2. Hotel Guest Room                  Each unit is conditioned by one or two chilled-water fan coil units.
      Conditioning                         Units are served off a vertical, four-pipe riser system that allows
                                           for simultaneous heating and cooling. The risers serve all floors.
                                           Units are then dueled to diffusers in the living and bedroom
                                           spaces.

                                           There is an existing infrared lnnComm System that provides
                                           bedside thermostatic controls.

      3. Public Space Conditioning         Conditioning for the public spaces including lobby areas, lounges,
                                           and meeting spaces is provided_by chilled water air conditioning
                                           units served off the main chilled water system.                               ,.



      4. Retail Space Conditioning         Retail spaces are provided with low pressure steam supply and
                                           condensate return.

      5. Air Conditioning at Units         Each unit is served by one or two chilled-water fan coil units.
                                           Units are served off a vertical, four-pipe riser system that allows
                                           for simultaneous heating and cooling. The risers serve all floors.
                                           Units are dueled to diffusers in the living and bedroom spaces. A
                                           summary of the units and their capacities is indicated in Table X.
                                           See Table X.

     6. Central Plant System                A central mechanical plant located in the second sub cellar level
                                            serves the mechanical systems in the St Regis. The plant
                                            consists of two (2), 530 ton electric centrifugal chillers (Model
                                            19DR5656M505CQ) with two (2), 800 gallon per minute chilled
                                           water pumps. The chillers are 17 years old and are scheduled for
                                            refurbishment in 2006 as described below. These chillers
                                           contain R11 refrigerant and were installed in 1990. Hot water
                                           service to the building is provided by Consolidated Edison district
                                           steam and utilizes (2) shell and tube heat exchangers. The heat
                                           exchangers are in good condition. Two (2), 700 gallon per minute
                                           hot water pumps are used for circulation. Three cooling towers
                                           on the roof level provide condenser water to the chillers with two
                                           (2) 935 gallon per minute condenser water pumps. Of the three
                                           cooling towers CT-1 is being refurbished and the fill and louvers
                                           are being replaced. The casing is in good condition. CT-2 and
                                           CT-3 are in need of replacement in the next two to three years
                                           and are in fact scheduled for replacement in 2006 as described
                                           below. The casings are beginning to leak and the louvers and
                                          structural steel are corroded beyond repair. Of the two pumps,
                                          one pump is provided as stand-by between the chilled water and
                                          condenser water systems. Condenser water is run through a                  ·.
                                          plate and frame heat exchanger in good condition, but in need of
                                          new insulation as condensate is currently forming on the frame.
                                          The central plant contains all the equipment required to properly          .    ·.: "
                                          serve the building systems and all major pieces of equipment in
                                          the central plant are from the 1989 renovation.

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                                                Planned maintenance project for 2006 include refurbishing
                                                cooling tower cell one, including replacing basins, fill, and
                                                motor/fan belt, and replacing cooling tower cells two and three. In
                                                addition, a complete chiller refurbishment is scheduled for the
                                                fourth quarter of 2006 including replacing all seals, gaskets, and
                                                sensors and inspecting the machines.

                                                There are no heat pumps in the condominiums or fractional units.
                                                Cooling and heating is achieved with 4 pipe fan coil units. The
                                                fan coil units are in proper working condition.

                                       UNIT    FLOW RATE      CA PACITY (BTU/HR)
                              APT
                                      LABEL      (CFM)
                                                                                        MODEL NO.
                                                             COOLING     HEATING
                                       10          613         21 .5        25 .5      Carrier PMOO
                              01/02
                                       12          769         27.9        2 7.5       Carrier. PMOD
                                       10          613         21. 5       2 5 .5      Carrier. PMOO
                               03
                                       12          769         27.9        27.5        Carrier. PMOD
                               0~      8           458         14.9          20        Carrier. PMOO
                               05      10          613         21 .5       2 5.5       Carrier. PMOD
                               06      8           458         14.9         20         Carrier. PMOO
                               07      B          458          14 .9         20        Carrier, PMOO
                              08       8          458          14.9         20         Carrier. PMOO
                              09       8          458         14.9          20         Carrier. PMOD
                               10     10          613         21.5         25.5        Carrier. PMOD
                              11      10          613         21.5         25.5        Carrier. PMOD
                              12      10          613         21.5         2 5 .5      Carrier. PMOD
                              14       6          373         12.6         19 .6       Carrier. PMOO
                              15       8          458         14.9          20         Carrier. PMOO
                              16       8          458         14.9          20         Carrier. PMOD
                              17       8          458         14.9         ' 20        Carrier, PMOD
                              18      10          613         21.5         25.5        Carrier, PMOD
                              19      10          613         21.5         25 .5       Carrier, PMOD
                              20      10          613         21 .5        25.5        Carrier PMOD
                              21      10          613         21.5         25.5        Carrier PMOD
                              22      10          613         21.5         25.5        Carrier. PMOO
                              23      10          613         21.5         25 .5       Carrier PMOD
                                              TABLE X · RESIDENTIAL UNIT CAPACITIE S




M. Electrical Systems


                                              Two (2) 5000 Amp Electric services are provided by Con Edison
                                              at 120/208 volts, 3 phase, 4 wire to two (2) Electric Switchboard
                                              Rooms and distributed through various size service switches for
                                              the building. The equipment is approximately 14 years old and
                                              appears to be well maintained.

                                              Emergency power is provided by a 750 KVA diesel generator and
                                              an emergency switchboard located in the sub-cellar. The
                                              emergency switchboard supplies power to the building fire alarm
                                              system, fire pump, elevator panels, a motor control center, a UPS
                                              system and an emergency panelboard located on each floor.

                                              Electric service is provided to the units from electrical
                                              panelboards located on each floor of the facility. Branch circuits
                                              from panelboards located on each floor and the floor above are
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                                                   run to each Unit. The service and distribution equipment are
                                                   approximately 14 years old and appears to be in good condition
                                                   and well maintained. It should be serviceable for another 25
                                                   years. Each unit has approximately 70 Amps of power at 120
                                                   volts available for its use for lighting and general receptacles.
                                                  This also includes the fan motor in the four pipe fan coil units
                                                  which provides for heating and air conditioning from the central
                                                  heating and air conditioning system. This is adequate for the
                                                  modem usage of the units. There is no direct metering of the
                                                  Suite Units, Club Units or hotel rooms. Common Metering from
                                                  Con Edison is provide at the Main Service Switchboards located
                                                  in the Cellar.

                                                  The Retail Unit is separately metered for electric service.

                                                  Circuits are provided in each guestroom with the capacity to
                                                  accommodate all existing loads within the Unit (lighting,
                                                  appliances, receptacles), and fan coil units. Power panels located
                                                  on all floors will remain as is.

                                                  Switched incandescent or fluorescent lighting fixtures are
                                                  provided in all bathrooms, walk·in closets, foyers and pantries.
                                                  Switched receptacles are provided in living rooms and bedrooms.
                                                  Ground fault receptacles are provided in bathrooms and pantries.
                                                  The fan coil unit in each Unit is wired to an electrical panelboard
                                                  serving the floor.

                                                  New branch circuits will provide power to new pantry receptacles
                                                 in the proposed units on the 8th, 91h,10th and 11th floors. The
                                                 pantry will have separate receptacles to serve a microwave oven
                                                 & refrigerator and a ground fault receptacle above the counter. A
                                                 ground fault receptacle will be provided in the bathrooms on a
                                                 separate circuit for hairdryers. The new branch circuits will be
                                                 provided from new panel boards that will be provided and sub fed
                                                 from existing panelboards. A total of forty·two circuits will be
                                                 required to accommodate the microwave ovens, refrigerators and
                                                 GFI receptacles at pantries and bathrooms. The existing feeders
                                                 contain enough load capacity to accommodate the additional
                                                 electrical loads.




                                                                                                                          · ·· ~


      N. Telephone, Intercom and Security Systems
                                                                                                                          . ':.._.
                                                                                                                           .• ..
                                                 Existing telephone service enters the Building in the basement, is
                                                 fed to a main telephone room and then distributed through
                                                 conduits and sleeves to various areas of the Building. Each Unit


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                                           will receive telephone service through wires running between a
                                           closet in the Unit and the communications closet servicing such
                                           Unit. The House phones allow for intercom type system. The
                                           renovation will include the upgrade to CAT5e wiring in the units.

                                           If installed, the Building intercom system will be controlled by an
                                           existing or new electronic telephone switch. The switch contains
                                           enough circuit boards to operate individual extension numbers
                                           and is in good working condition.

                                           Closed circuit television cameras will be provided in the selected
                                           locations, at selected entrance corridors to the elevators, at the
                                           service lobby with viewing monitors at the Security Office. The
                                           cameras will be designed to cover the immediate area within the
                                           view of the cameras, and will be necessarily cover all of the areas
                                           involved.

                                          The St. Regis Hotel has an Addressable class J-1 Fire Alarm
                                          System. The system is comprised of the following equipment and
                                          devices:

                                          Fire Command Center located in the Lobby on the Ground Floor.

                                          Data Gathering Panels located on each floor.

                                          Fire Alarm Pull Stations, Speakers, Combination Speaker I
                                          Strobes, Smoke Detectors, Heat Detectors, Warden Stations,
                                          Duct Detectors, Water Flow and Tamper Switches and Fire
                                          Fighter Telephone Jacks.

                                          Fire Alarm Pull Stations are located near egress stairs. Duct
                                          detectors are provided in Heating and Ventilating equipment


                                          ductwork for shutdown upon activation of initiation device. Water
                                          Flow and Tamper Switches are located at Fire Standpipe valves.
                                         Heat Detectors are located in Mechanical Rooms and Elevator
                                         Machine Rooms. Fire Alarm Speakers are located in egress
                                         stairways every four (4) floors and in Hotel rooms. Combination
                                         Speaker I Strobes are located in all corridors, elevator lobbies,
                                         mechanical rooms, Hotel rooms designated for use by
                                         handicapped patrons and other areas as required by code.
                                         Warden Stations are located in Mechanical Rooms, Elevator
                                         Machine Rooms and Elevator lobbies. Fire Fighter Telephone
                                         Jacks are located in the egress stairways, mechanical rooms and
                                         elevator lobbies. Smoke Detectors are located in all corridors,
                                         outside Hotel room bedrooms, mechanical rooms, elevator
                                         machine rooms, elevator lobbies for elevator recall and other
                                         areas.
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       0. Television Reception Facilities



                                                  Currently, coaxial cable wiring is provided to each television set
                                                  and fed from the Time Warner system and a satellite dish on the
                                                  roof. The building is currently converting from Time Warner to
                                                  RCN-TV of New York. Two cables will be provided to each
                                                  apartment to facilitate up to two separate services to each
                                                  apartment at a time. One or both of these cables may be utilized
                                                  by the Unit Owner to receive high speed internet service via a
                                                  cable modem.

                                                  The Building is not equipped with a Master Television Antenna
                                                  System.


      P.   Public Area Lighting


                                                 Public areas are lighted by fluorescent and incandescent lights.
                                                 Emergency lighting in the public areas are provided as required
                                                 by code.

      Q.   Garage
                                                                                                                                   •
                                                 No parking facility exists on site.


      R. Recreation Facilities


                                                 A Fitness Center is located within the Hotel Unit as described in
                                                 Section J.


      S. Permits and Certificates


                                                The Suite Units and Club Units will be renovated under an

                                                                                                                            .·..
                                                alteration application.

                                                Attached are the following reports:
                                                       List of FF&E
                                                       Local Law 11
                                                       Local Law 10
                                                       Asbestos
                                                       Lead Based Paint
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                                                    Violations

                                           Due to the landmark status of the building, a ucertificate of No
                                           Effecr has to be obtained from the New York City Landmarks
                                           Preservation Commission prior to any alteration or renovation
                                           work on the property.

T. Vaults

                                           Cellar level vaults that extend under the 55th Street and 5th
                                          Avenue sidewalks were found to be dry and appeared free of
                                          leaks or significant water infiltration. Extensive replacement of
                                          original deteriorated vault framing, consisting of structural steel
                                          beams and concrete slab-on-metal deck, is visible. These
                                          elements appear solid and in good condition. Several beams in
                                          this area are missing fireproofing and should be properly rated.


U. Unit Information

                                          There will be 11 Club Units per floor on both the 8th and gth Floor,
                                          and 12 Suite Units per floor on both the 10th and 11th Floor.

                                          Top of floor slab to bottom of hung ceiling in the units vary from
                                          10'-0" to 11'-0". Ceiling heights in the pantry, foyer, bathroom and
                                          powder rooms will be approximately 8'-0".

                                          Wherever there are overhead structural conditions and concealed
                                          mechanical elements, heights will deviate from the above stated
                                          measurements. There will also be deviation from room to room,
                                          and floor to floor.

                                          The types of units, together with the type and number of rooms in
                                          each of the same, are as follows:


                  TYPE                                UNITS                              FLOORS
    Studio                                         Two (2} Units                    8'" and gm Floors
    Stand Alone 1 Bedroom                          Two (2) Units                    au• and gm Floors
    1 Bedroom with Lockout                        Three (3) Units                   8'" and gu• Floors
    2 Bedroom                                     Four (4) Units                    8'" and 9'" Floors

                  TYPE                               UNITS                              FLOORS
    Studio                                       Three (3) Units                   1om and 11m Floors
    Stand Alone 1 Bedroom                        Three (3} Units                   1om and 11m Floors
                                                                                     10
    1 Bedroom with Lockout                        Two (2) Units                    10 and 11"' Floors
    2 Bedroom                                    Four (4) Units                    1om and 11m Floors

      Fixtures and Appliances: Subject to Sponsor's right to make substitutions as set forth in the
      offering plan, the units will be equipped with following (or comparable} fixtures and appliances.
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      ITEM                         DESCRIPTION                               UNITS
      Refrigerator                 700BCI by Sub-Zero                        Typical for all units on 8th and
                                                                             9th
                                                                                                     111
      Refrigerator                 700BR by Sub-Zero                         Typical for all units 10 and 11th
                                                                             Floors
      Microwave Oven               GE Monogram ZEM200WF in white,            T~ical for all units on au', 9u\
                                   with white built-in kit JX827WN           10 and 11th Floors

      Sink                        Waterworks NOSK30 in Matte Gold           T~ical for all units on 8Ul, gu•,
                                  finish                                    10 and 11th Floors

      Faucet                      Waterworks CAKM 40 in Matte Gold          T~icalfor all units on   au•. 9U1 ,
                                  finish                                    10 and 11th Floors



   Plumbing Fixtures: Except in instances wherein existing powder rooms are to be converted into
   pantries, all existing plumbing fixtures are to remain as is. Except for the water closets and tubs,
   generally most of the plumbing fixtures are fairly new since they were replaced in an extensive
   renovation done in 2003. generally, the plumbing fixtures in the Units are well maintained and are in
   good condition. Based on the infonnation provided by the Owner, below is a list of existing plumbing
   fixtures:

         Sink Faucet                       Cif1BI256 110x10 Country Side PVD Brass- a~center

         Sink P-Trap                       MT3130GPB
        Hand Held Shower Spray             Cifial 289882x1 OPH
        w/hose
        Shower Head                        Cifial 289880x1 0
        Shower Handle- Wall                Cifial256883x1 0
        Support
        Balance Valve w/trim               Cifial256610x10
        Water Closet                       Kohler one pc. k-3466 (white)
        Sink                               Kohler 2210 (caxton)
        Tub                                Make and Model cannot be determined; Existing to remain.


       Finish Schedule: The existing hotel guestrooms feature louis XVI-style furniture, intricate crown
       moldings and wainscoting, wall-to-wall carpeting, marble baths and fabric wall coverings. The
                                                                                                                             '.
       new units will retain the existing wall, stone floor and ceiling detailing of the hotel, except for the
       converted pantries which will have the following surface treatment: Ivory Antico stone countertop,
       'antique' mirror backsplash(18"± height), Cabinets painted maple, color to match woodwork (wall
       moldings, doors) at the entry foyer.                                                                             . . ·.

       Generally, all the finishes which are to remain (i.e stone vanities, marble flooring) are in fairly
                                                                                                                        .
       well-maintained condition. Below are additional information on the new finishes for the Units.               '       . ..



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         The finish schedule for the Units on the 8th, 9th, 101h and 11th floors are as follows:


       LOCATION           FLOOR       BASE       WALLS                      CEILING           REMARKS
       Foyer              Carpet      Wood       Wallcover, crown           Painted gyp.      Carpet and
                          or                     molding                    board             wallcover to be
                          Stone                                                               replaced
       Living             Carpet      Wood       Wallcover, millwork        Painted gyp.      Carpet and
       Room/Dining                               wainscot and crown         board             wallcover to be
       Room/Closets                                                                           replaced
       Pantry             Stone       Wood       Stone countertop and       Painted gyp.
                          or                     'antique' mirror           board
                          Carpet                backsplash.
                                                Painted maple cabinetS
                                                (color to match
                                                woodwork at the entry
                                                foyer).
       Bedroom            Carpet     Wood       Wallcover, millwork         Painted gyp.      Carpet and
                                                wainscot and crown          board             wallcover to be
                                                                                              replaced
       Bathroom           Stone      Stone      Stone wainscot,            Painted gyp.       Wallcover to be
                                                Wall cover                 board              replaced
      Powder              Stone      Stone      Stone wainscot,            Painted gyp.       Wallcover to be
      Rooms                                     wallcover                  board              replaced

    As per the infonnation provided by the Interior Designer, Sills-Huniford, Carpeting used for the
    condominium conversion is a custom pattern Stark carpet custom four color design cutpile. Axminster
    quality 10 row/7 pitch. 80%wool and 20% nylon. 12' wide goods with .250 pile height.

V. Safety and Warning Devices


                                           Smoke detectors will be provided outside bedrooms as required
                                           by law. Area smoke detectors are installed in all electrical and
                                           mechanical equipment rooms as required by law. Duct mounted
                                           smoke detectors are provided in all supply air-handling units in
                                           excess of 2,000 CFM as required by the New York City Building
                                           Code.



W. Additional Information Dimensions of Units


                                          To get the approximate area (in square feet) each unit was
                                          measured by taking the horizontal dimension from the interior
                                          side of the glazing or the exterior walls, at the building line and/or
                                          property line to the midpoint of the interior walls separating one
                                          unit from the other, or the public side of the interior walls
                                          separating a unit from public corridors, stairs, elevators and other
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                                           mechanical equipment spaces or any Common Elements.                  '   I

                                           Columns and mechanical pipes (whether along the perimeter or
                                           within the unit) are not deducted from the area of the unit.


X. Reserve Fund

                                           Sponsor advises that no reserve fund for major capital
                                           improvement or replacements is provided for in the budget for
                                           first year of condominium operations, and that the absence of
                                           such a reserve fund is being disclosed as a special risk in
                                           Sponsor's Offering Plan.


        The foregoing is a description of the property based on observable conditions and information
        made available to the consultants. Information was gathered through interviews with the building
        engineers, available reports and construction documents and a visual survey of the building. All
        concealed conditions that cannot be documented based on an ocular survey are not within the
        scope of this report. Note that the observations were accurate as of this writing and that these
        conditions may change over time.




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